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                                 EASTERN DIVISION
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UNITED STATES OF AMERICA,

                       Plaintiff,
                v.
                                                      16 CR 462-6
                                                      Judge Rebecca R. Pallmeyer
MARIO HERNANDEZ,

                       Defendant.


                                 PLEA DECLARATION

         NOW COMES Defendant, MARIO HERNANDEZ, through his attorney,

JOSHUA B. ADAMS, and acknowledges and states the following.


                                    Charses in This Case

    l.   The government charged Mr. Hemandez with a RICO conspiracy in violation of

18 U.S.C. $1962(d) (Count One), and one count of possession         of a firearm after having

been convicted of a felony (Count Fifteen).

   2.    By this declaration, Mr. Hernandez seeks to voluntarily change his plea from not

guilty to gurlty on Counts One and Fifteen of the Indictnent.

   3.    Mr. Hernandez has read the charges against him contained in the indictnent, and

those charges have been   fully explained to him by his attorney.

   4. Mr. Hernandez fully      understands the nature and elements       of the crimes with
which he has been charged.
                       Charges to Which Defendant Is Pleadinq Guilty

     5.   Mr. Hernandez agrees to enter a voluntary plea of guilty to the following counts

of the indictment: Count One, which charges him with RICO conspiracy, in violation of

Title 18, United States Code, Section 1962(d), and Count 15, which charges Mr.

Hernandez with possession        of a firearm after having been convicted of a felony, in

violation of Title 18 U.S.C. Section 922(9).

                                             Factual Basis


6.        Mr.   Hernandez   will plead guilty   because he   is in fact guilty of the charges in

Counts One and       of the indictnent. In pleading guilty, Mr.         Hemandez admits the

following facts and those facts establish his guilt beyond a reasonable doubt as to Counts

One and, pursuant to Guideline $ 1B1.3:

          Count One

          With respect to Count One, beginning no later than in or about 1999, and

continuing to in or about July 2016, in the Northern District of Illinois, Eastem Division

and elsewhere, there was a criminal enterprise known as the Almighty Latin Kings

Nation (the "Latin Kings"). That enterprise consisted of Mr. Hernandez and others. The

Latin Kings, including its leadership, members and                  associates, constituted an

"enterprise," as defined in     l8 U.S.C.   $1961(4), that is, a group of individuals associated

in fact, which    engaged   in, and the activities of which affected, interstate and foreign

corlmerce. The Latin Kings enterprise constituted an ongoing organization whose

members functioned as        a continuing unit for a common          purpose   of   achieving the

objectives of the enterprise.
              Mr. Hernandez had been a member of the Latin Kings from approximately 1999

       through 2016. Mr. Hemandez admits that he knowingly conspired to conduct and

       participate   in the conduct of the affairs of the Latin Kings through a pattem of
       racketeering activity, which included threats, intimidation, and violence, which included

       assaults   with dangerous weapons against others, multiple acts of extortion as defined
                          tqbl
       under 18 U.S.C. SytAa, and other acts of violence such as "violations." Mr. Hernandez
 0
       agreed that some members       of the conspiracy would commit at       least two acts of
{rn
       racketeeringactivitY.
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       Count Fifteen

              With respect to Count Fifteen, on or about April 15, 2014, in the Northern District

       of Illinois, Eastem Division, Mr. Hernandez, previously having been convicted of a crime

       punishable by a term of imprisonment exceeding one year, did knowingly possess in and

       affecting interstate cornmerce a firearm, namely a Smith and Wesson model M&P 15,

       556 caliber rifle, bearing serial number SUI1350. Said firearm had traveled in interstate

       commerce prior to Mr. Hernandez's possession of the firearm, in violation of   l8 U.S.C. $

       e22(g)(r).

              Specifically, on or about April 15, 2014, Mr. Hemandez knowingly possessed the

       firearm listed above and caused    it to be sold to a member of the Latin Kings who,
       unbeknownst to Mr. Hernandez, was cooperatrng with law enforcement, in exchange for

       $1000. Mr. Hemandez acknowledges that the firearm traveled in interstate cofllmerce

       prior to Mr. Hernandez's possession of the gun. Further, prior to his knowing possession

       of the above-described firearm, Mr. Hernandez had been convicted of a felony offense

       punishable by a term of imprisonment exceeding one year.
                                Maximum Statutorv Penalties

        7.      Mr. Hernandez understands that the charges in which he is pleading guilty

ca:ries the following statutory penalties:

                a. Mr. Hernandez is not subject to a statutory mandatory minimum in this

case. Pursuant to Title 18, United States Code, Section 1959, the statutory ma:rimum

penalty is 20 years imprisonment. This offense also carries a maximum fine of

$1,000,000. Defendant further understands that the judge also must impose a term of

supervised release of at least 3 years, and up to any number of years, including life.

                b. With respect to Count, the maximum statutory penalty is ten years

imprisonment and a maximum fine of $250,000.

                c.    In according with Title 18, United    States Code Section 3013, Mr.

Hernandez    will   be assessed $100 on each charge to which he pleads gullty, in addition to

any other penalty imposed.

                d. Therefore, the combined maximum statutorypenalty on both counts is

thirty years.

                              Sentencins Guideline Calculations

        8.      Mr. Hernandez understands that in imposing sentence the Court will         be

guided by the United States Sentencing Guidelines. Mr. Hernandez understands that the

Sentencing Guidelines are advisory not mandatory, but that the Court must consider the

Guidelines in determining a reasonable sentence. Mr. Hernandez's attorney has explained

to him that the Probation Office will conduct an investigation into his        case and   will


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submit a report to this Court that details its Guideline calculations. Mr. Hernandez

understands that his attorney, as    well as the attomeys for the government, will have an

opportunity to review the Guideline calculations of the Probation office and submit any

objections before the sentencing hearing.

       9.      Mr. Hernandezmay dispute the government's guideline calculations.

       10. In accordance with Guideline Section 3E1.1O), Mr. Hemandez has timely

notified the government of his intention to enter a plea of guilty, thereby permitting the

government to avoid preparing for trial and permitting the Court to allocate its resources

efficiently. Therefore, as provided by Guideline Section 381.1(b),            if   the Court

determines the offense level to be 16 or greater prior to determining that Mr. Hernandez

is entitled to a twolevel reduction for acceptance of responsibility, the goverrment will

move for an additional one-level reduction in the offense level.

                            Trial Rishts and Waiver of Rishts

       10.     Mr. Hemandez understands that he has a right to persist in his plea of not

gurlty and a right to a speedy hial. He has the right to a trial by jury, or could elect to

have a trial where the judge would find the facts, assuming the government and the Court

all agreed to a bench   trial.   Mr. Hernandez has the right to be represented by counsel at

trial and at every other stage of the proceedings in this case. He has the right to confront

and cross exa:nine witresses, and the right against self-incrimination, to testiff     if   he

chooses, and to present evidence and compel the attendance of witnesses on his behalf.

Mr. Hernandez has discussed these rights with his counsel, and understands those rights,

and acknowledges by pleading guilty he is waiving those rights.
        I   l.       Mr. Hernandez gullty plea to Counts One and Four of the Indictment is

entirely voluntary, and is not the result of force, threats, or promises.

        13.          Mr. Hernandez acknowledges that he has read this plea declaration and

understands all of its contents.

        14. IvIr. Hernandez does not waive any issues that may arise from this sentencing

hearing or the sentence imposed by the district court.




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Signed this                 dayofJuly,2017.




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